                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

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 Food Lion, LLC, and Maryland and
 Virginia Milk Producers Cooperative
 Association, Inc.,

       Plaintiffs,                                          1:20-cv-442
                                                  Case No. ____________________

v.

Dairy Farmers of America, Inc.,

       Defendant.



                                     COMPLAINT

       This action arises out of Defendant Dairy Farmers of America, Inc.’s (“DFA”)

longstanding effort to seize control of the milk supply chain. Indeed, for the past two

decades, DFA has rapidly consolidated and dominated the market for the supply of raw

milk not by competing on the merits, but through unlawful conduct and anti-competitive

agreements through which it has gained near-complete control over the purchasing of key

nationwide milk processors. This anti-competitive campaign has allowed DFA to

transform itself from a modest regional dairy cooperative into the Standard Oil of the

modern dairy industry.

       DFA accomplished this transformation through a mutually advantageous

partnership with Dean Foods Company (“Dean”), formerly the nation’s largest processor

of raw milk. Their partnership was forged through a corrupt bargain entered into at the




           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 1 of 56
time of a prior merger between Dean and another dairy processing giant, in order to avoid

U.S. Department of Justice (“DOJ”) scrutiny through subterfuge and deception. The

illicit side agreement allowed DFA to secure full-supply rights for its higher-priced raw

milk to the newly merged Dean processing plants through a twenty-year exclusive-

dealing arrangement, in exchange for an agreement not to compete with Dean at the

processing level.

       Together, these two dairy conglomerates have suppressed competition, raised

market concentration, and bolstered each other’s market power ever since, to the

detriment of independent dairy farmers at one end of the milk supply chain and customers

at the other. Their efforts were mutually reinforcing: the more dominant DFA became in

producing and supplying raw milk, the more control DFA and Dean could exercise in

contracts for processing milk, the more dominant DFA became in producing and

supplying raw milk, and so on, simultaneously eliminating competition in both the milk

production and milk processing markets in which each dominated. As a result, both

entities were subject to an avalanche of lawsuits targeting their anti-competitive practices,

resulting in a series of settlements totaling hundreds of millions of dollars. Nonetheless,

DFA’s conduct persisted, and even grew worse, as its grip on the market strengthened.

       This anti-competitive cycle of harm was set to slow or end in the near future, or so

the dairy industry thought. On or about April 2021, the twenty-year exclusive raw milk

supply agreement between DFA and Dean that was a key part of the original corrupt

bargain—structured as a series of one-year evergreen provisions to avoid a prior DOJ


                                            -2-



            Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 2 of 56
consent decree against DFA’s predecessor—was scheduled to end on its terms. If that

happened, DFA’s competitors would finally be able to compete with DFA on the merits

to supply raw milk to Dean processing plants across the country.

       In November 2019, however, Dean announced that it would be filing for Chapter

11 bankruptcy, thus accelerating the time when DFA’s iron-fisted grasp over Dean plants

would be released. DFA could not let that happen. Instead, to avoid the prospect of

competition and protect its market power, DFA engineered a “solution” to permanently

solidify and complete its control over Dean’s purchasing decisions by strategically

maneuvering to buy forty-four Dean processing plants out of the bankruptcy estate (the

“Asset Sale”) at an opportune time. On May 1, 2020, DFA and Dean closed on the Asset

Sale, transforming DFA overnight into both the largest milk producer and the largest

milk processor in the United States.

       DFA’s ownership of the majority of the legacy Dean milk processing plants

represents the coup de grâce for competition in the relevant fluid milk markets. With

capability to wield market power at two levels of the supply chain, DFA now has both the

ability and the incentive to wipe out any remaining pockets of competition. This, in turn,

will lead inevitably to a durable DFA monopoly over the dairy supply chain, the death of

the independent, family-owned dairy farm, and higher prices for consumers who depend

on milk for their daily sustenance, especially during the current pandemic. Indeed, as it

flexes its newfound muscles as an aspiring monopolist, the fully integrated DFA will

compel cooperatives and independent dairy farmers to either join DFA or cease to exist;


                                           -3-



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 3 of 56
create an even more difficult environment for new entrants to compete for the supply of

raw milk; and in turn further entrench DFA’s control over (and ability to manipulate)

both the raw and processed milk supply chains. This harm will be particularly acute in

the areas surrounding milk processing plants in North and South Carolina, where plaintiff

Maryland and Virginia Milk Producers Cooperative Association, Inc. (“MDVA”) is

DFA’s only significant remaining competitor for the supply of raw milk and plaintiff

Food Lion, LLC (“Food Lion”) is one of the largest retailers selling milk to consumers.

       The Asset Sale marks the culmination of DFA’s longstanding, anti-competitive

campaign to dominate the fluid milk markets and positions DFA to monopolize the dairy

supply chain going forward. Accordingly, to address DFA’s past misconduct and prevent

irreversible harm to competition, Food Lion and MDVA bring this action under Section 7

of the Clayton Act, 15 U.S.C. § 18, and Section 2 of the Sherman Act, 15 U.S.C. § 2.

While Food Lion and MDVA believe that the Asset Sale will substantially lessen

competition across the country, this action is narrowly focused on the area in which dairy

farmers supply raw milk to, and customers purchase processed milk from, milk

processing plants located in North and South Carolina. Plaintiffs request that the Court

grant a preliminary injunction that preserve the status quo, protect the relevant assets, and

ensure the viability of a divestiture remedy until the conclusion of this matter. Plaintiffs

further seek permanent injunctive relief requiring DFA to divest at least one of the legacy

Dean facilities in the Carolinas to a viable, qualified, and independent purchaser

unaffiliated with DFA, as is necessary to promote competition in the milk supply chain


                                            -4-



            Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 4 of 56
going forward. Without such remedies, competition in the raw and processed milk

markets in the region will be lost forever.

                                      THE PARTIES

       1.     Plaintiff Food Lion is a North Carolina limited liability company

headquartered in Salisbury, North Carolina. It operates more than 1,000 supermarkets,

either directly or through affiliates, in ten states, including approximately 600

supermarkets in North and South Carolina and dozens more that purchase fluid milk from

milk processing facilities in the Carolinas. Food Lion purchases processed fluid milk in

interstate commerce and is one of the largest retail purchasers of processed fluid milk

from processing facilities in North and South Carolina.

       2.     Plaintiff MDVA is a corporation organized and existing under the laws of

the Commonwealth of Virginia with its principal place of business in Reston, Virginia.

MDVA is a dairy cooperative with approximately 950 member farms in eleven states

throughout the Mid-Atlantic and Southeast. MDVA also owns two fluid milk processing

facilities outside of the Carolinas and two plants that produce bulk dairy ingredients for

food manufacturers.

       3.     Defendant DFA is a dairy cooperative organized and existing under the

laws of the State of Kansas, with its principal place of business in Kansas City, Missouri.

DFA is the largest dairy cooperative in the United States, representing over 14,000 dairy

producers in forty-eight states and recognizing $13.6 billion in revenue in 2018. In the

wake of the Asset Sale, DFA is also the nation’s largest processor and direct-to-store


                                              -5-



            Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 5 of 56
distributor of fluid milk and other dairy and dairy case products. Now DFA not only

engages in the production and marketing of raw milk, but it also manufactures, markets,

and distributes processed milk to retailers, distributors, foodservice outlets, educational

institutions, and governmental entities across the country, including from its legacy Dean

plants in High Point, North Carolina; Winston Salem, North Carolina; and Spartanburg,

South Carolina.

            JURISDICTION, VENUE, AND INTERSTATE COMMERCE

       4.      This Court has subject-matter jurisdiction over this action pursuant to 15

U.S.C. § 26; 28 U.S.C. § 1331; and/or 28 U.S.C. § 1337(a).

       5.      This Court has personal jurisdiction over DFA under 15 U.S.C. § 22,

because DFA may be found and regularly transacts business in this judicial district.

       6.      Venue is proper in this judicial district under 15 U.S.C. § 22 and 28 U.S.C.

§ 1391(b) and (c), because DFA may be found and regularly transacts business in this

judicial district. Two of the three legacy Dean milk processing facilities at issue in this

Complaint are located in this judicial district, and the anticompetitive effects of the Asset

Sale will be felt throughout this judicial district.

       7.      DFA is engaged in, and its activities substantially affect, interstate

commerce, and the conduct alleged herein substantially affects interstate commerce.

Among other things, DFA purchases, markets, processes, and ships milk across state

lines. DFA receives substantial payments across state lines for the sale of raw and/or

processed milk. DFA’s acquisition of three legacy Dean processing facilities in North


                                              -6-



            Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 6 of 56
and South Carolina will have adverse effects on competition and consumers, including

for the production and processing of fluid milk sold, in the region.

                                RELEVANT MARKETS

                              The Relevant Product Markets
       8.     There are two relevant product markets at issue in this case.

       9.     The first market is an upstream market for the supply of raw Grade A milk

(“raw milk”) by dairy producers, in which both DFA and MDVA compete, to milk

processing plants like the legacy Dean facilities (the “raw milk market”).

       10.    The second market is the downstream market for the processing, co-

packing, and delivery of fluid milk products to retailers like Food Lion and other

customers (the “processed milk market” or “processed fluid milk market”).

       11.    The milk industry, including DFA and Dean, treat these two product

markets as being distinct in the ordinary course of business. These relevant product

markets also have been treated as being distinct by federal courts in prior litigation

involving DFA and Dean.

       12.    Raw milk is a fungible, homogenous, and highly perishable commodity.

Dairy farmers milk their cows at least twice a day and the milk must be transported from

farms to milk processors nearly every day and sometimes multiple times a day. Raw

milk is typically stored in refrigerated tanks until it is picked up by a milk hauler who

transports it in insulated trucks to milk processing plants. Milk processing plants process

this milk for human consumption and package it for wholesale or retail sale.


                                            -7-



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 7 of 56
       13.     Federal milk sanitation standards distinguish between milk eligible for use

in fluid products—called raw Grade A milk—and milk eligible only for manufactured

dairy products. Pursuant to the 1937 Agriculture Act, the U.S. Dairy Association

(“USDA”) classifies raw Grade A milk as milk that qualifies for use in fluid milk

products for human consumption. The highest standards are established for raw Grade A

milk because of safety risks associated with fluid milk products.

       14.     Each month, the USDA calculates minimum prices pursuant to its formula

for raw milk marketed in different geographic regions, known as Federal Milk Marketing

Orders (“FMMO”). Currently, there are ten FMMOs. The milk processing facilities at

issue in this Complaint are included in FMMO 5.

       15.     USDA regulations mandate that cooperatives and independent dairy

farmers participating in the FMMO program receive at least the weighted uniform

average or minimum “blend” price for raw Grade A milk that is “pooled” on an Order.

Dairy farmers “pool” raw Grade A milk on an FMMO by delivering specified minimum

quantities of such milk to USDA-regulated fluid milk processing plants associated with

that FMMO.

       16.     USDA minimum prices for raw Grade A milk represent the minimum

prices that milk processors must pay for such milk marketed pursuant to USDA

regulation. These minimum prices, however, are less than the farmers’ cost to produce

the milk. Farmers must sell their raw milk for more than these minimum prices in order

to survive.


                                            -8-



              Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 8 of 56
       17.    On the processed milk side, consumers have long-held cultural and taste

preferences for processed fluid milk over other beverages, and processed fluid milk has

particular nutritional benefits and qualities for use in cooking. Consequently, consumer

demand for processed fluid milk is relatively inelastic; that is, processed fluid milk

consumption does not decrease significantly in response to a price increase. Fluid milk is

distinct from extended shelf-life milk, ultra-high temperature milk, and aseptic milk,

which are produced by different processes, have numerous significant differences, and

generally cost significantly more than fluid milk.

       18.    Retailers, supermarkets, distributors, and other processed fluid milk

customers are unlikely to substitute other products for fluid milk because the individual

consumers that they serve continue to demand fluid milk.

       19.    Dairy farmers and dairy cooperatives sell raw milk to milk processors who

have no feasible substitutes. Similarly, milk processors sell processed fluid milk to

retailers, who can sell other beverages, but none that are good substitutes for fluid milk.

       20.    The markets for raw and processed fluid milk satisfy the well-accepted

“hypothetical monopolist” test set forth in Part 4.1 of the DOJ and Federal Trade

Commission 2010 Horizontal Merger Guidelines, and incorporated by reference into Part

2 of the Draft Vertical Merger Guidelines (released for public comment on January 10,

2020). A hypothetical monopolist of raw milk could impose a small but significant non-

transitory increase in price (“SSNIP”) to milk processors. Processors have no reasonable

substitute for raw milk that would render a SSNIP on raw milk unprofitable. A


                                            -9-



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 9 of 56
hypothetical monopolist of processed milk could impose a SSNIP to customers of

processed milk, such as grocery retailers. Retailers and other processed milk customers

could not turn to purchasing other products in sufficient quantity or numbers to render a

SSNIP on processed milk unprofitable.

                             The Relevant Geographic Market

       21.     The relevant geographic market in this action for both the supply of raw

milk and its processing and co-packing consists of the milk processing plants in North

and South Carolina. Dairies and cooperatives to which these plants may reasonably turn

for supply of raw milk for these facilities are included in the geographic market for raw

milk. Similarly, customers of processed milk including retailers that can reasonably turn

to these facilities for the purchase of processed milk are included in the geographic

market for processed milk.

       22.     Transportation costs and perishability limit the distance over which raw

milk can profitably be shipped. As stated above, farmers generally milk their cows at

least twice a day, and the milk must be stored in refrigerated tanks and transported to

milk processors nearly every day and in some cases multiple times a day. Raw milk is

highly perishable and is costly to transport because it must be shipped in insulated tanks.

Shipping costs are estimated to increase by approximately $0.10 per gallon for every

additional 100 miles shipped. This makes the need to transport milk to the closest

processing facility even more important in order to manage transportation costs.




                                           - 10 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 10 of 56
       23.     The region surrounding the milk processing facilities in North and South

Carolina has two geographic features that limit the region within which milk can

reasonably and profitably be shipped to and from milk processing facilities: the Atlantic

Ocean to the East and the Appalachian Mountains to the West. Shipping across the

Appalachian Mountains is not economically feasible because of the transportation costs

associated with crossing the mountains.

       24.     The economic and transportation costs of shipping milk dictate that the

long-term viability and overall competitiveness of a dairy cooperative supplying raw milk

to a milk processor in the Carolinas relies on the cooperative’s ability to transport its

members’ milk to a local processing facility.

       25.     These geographic and cost constraints leave dairy producers located near

the processing facilities in North and South Carolina with only six processing and

packaging facilities to which to sell raw milk: (1) the legacy Dean (now DFA) facility in

Winston-Salem, North Carolina; (3) the legacy Dean (now DFA) facility in High Point,

North Carolina; (3) the legacy Dean (now DFA) facility in Spartanburg, South Carolina;

(4) Kroger’s Hunter Farms facility in High Point, North Carolina; (5) Ingles’ Milkco

facility in Asheville, North Carolina; and (6) the Borden Dairy Co. facility in Charleston,

South Carolina. Because geographic and transportation costs also constrain the shipment

of processed milk, downstream purchasers of processed milk also rely on nearby milk

processing facilities. Below is a map identifying these facilities’ respective locations.




                                            - 11 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 11 of 56
                Figure One: Milk Processing Facilities in the Carolinas




       26.     A hypothetical monopolist of cooperatives and independent dairies selling

raw milk to the processors located in North and South Carolina could impose a SSNIP.

This is because the high transportation costs associated with raw milk mean that

processors cannot turn to more distant cooperatives to defeat a SSNIP.

       27.     A hypothetical monopolist of milk processors located in North and South

Carolina could impose a SSNIP in price to customers such as retailers. This is because

retailers, collectively, would not be able profitably to offset such a price increase by

shipping milk from more distant milk processors. Even if some customers closer to the

market boundary did find it economical to substitute more distant processors, this would

not be sufficient to offset the aggregate profitability of a price increase.




                                             - 12 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 12 of 56
             DFA’S CONSOLIDATION OF THE U.S. DAIRY INDUSTRY

                                     Milk Cooperatives

       28.     The dairy industry in the United States is highly concentrated, at both the

raw milk producer and processor levels, and has become increasingly concentrated over

time as DFA has sought to monopolize the dairy supply chain.

       29.     Dairy cooperatives are associations of dairy farmers who agree to market

collectively their raw milk. Cooperatives are supposed to be voluntary associations—

owned, operated, and controlled by their farmer members. Cooperatives “market” their

farmers’ raw milk, which usually consists of locating buyers, negotiating sales prices,

coordinating hauling, performing testing, recording and reporting related data to milk

market regulators, and paying member farmers for their raw milk.

       30.     One of the key responsibilities of cooperatives is to negotiate prices higher

than the FMMO minimum prices. The amounts by which prices paid for raw Grade A

milk exceed FMMO minimum prices are known generically as “over-order premiums.”

Access to milk processing plants in North and South Carolina and receipt of FMMO

minimum prices and over-order premiums are necessary and essential to the economic

viability of dairy farmers in the region.

       31.     Not all dairy farmers are cooperative members. Some dairy farmers seek to

remain independent of cooperatives and are referred to as “independent dairy farmers.”

Independent dairy farmers seek to market their raw milk to fluid milk processing plants

by contracting with processing plants either directly or through agents and/or marketing


                                            - 13 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 13 of 56
associations. Many independent dairy farms are family-owned and operated and have

been so for generations.

       32.     On January 1, 1998, DFA, a new marketing cooperative, was created from

the merger of four competing dairy cooperatives. By 2000, DFA had emerged as the

largest dairy cooperative in the United States and controlled more than 50% of the raw

Grade A milk produced in the Southeast United States.

       33.     Today, DFA is still the largest dairy cooperative and raw milk producer in

the United States. DFA’s members, all of which are producers of raw milk, include both

individual dairy farmers and other member-owned milk marketing cooperatives. In 2018,

DFA produced 52.7 billion pounds of raw milk—approximately 30% of all raw milk

produced in the United States—making it more than three times larger than the next

largest dairy cooperative, California Dairies Inc., which is a DFA partner. DFA had 2018

revenues of $13.6 billion. DFA recently started issuing non-voting preferred stock, and

its equity from this stock comprises a large portion of DFA’s total equity.

       34.     Through various transactions, partnerships, joint ventures, and contractual

relationships, DFA has expanded its dominance of the milk supply chain, establishing

vertical relationships and interests in everything from production, to processing, to

delivery. Thus, DFA currently controls two critical product markets within the milk

supply chain—production and processing—in many of the geographic markets in which

it operates. Until the Asset Sale was consummated, the geographic region at issue in this

Complaint remained one in which DFA was not yet fully integrated.


                                           - 14 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 14 of 56
       35.     MDVA is a dairy cooperative with approximately 950 member-farms in

eleven states throughout the Mid-Atlantic and Southeast. As a cooperative, MDVA

supports its farmer-members by locating raw milk buyers, negotiating sales prices,

coordinating hauling, performing testing, recording and reporting related data to milk

market regulators and processors, and by paying member farmers for their raw milk.

       36.     In 2018, MDVA produced approximately 1% of the raw milk in the United

States. To compare their relative size, MDVA sold 2.9 billion pounds of raw milk in

2018 compared to DFA’s 52.7 billion pounds, making MDVA only the thirteenth largest

dairy cooperative in the United States. MDVA nevertheless acts as a competitive

constraint on DFA in the states in which MDVA operates. In the market for the

production and supply of raw milk to processing facilities in the Carolinas, MDVA is the

only significant competitive constraint on DFA.

                                     Milk Processors

       37.     Milk processors process raw milk purchased from cooperatives,

independent dairy farmers, or other supply plants into pasteurized milk for human

consumption. Processors process milk into a variety of fluid products including whole

milk, fat-free or skim milk, low and reduced-fat milk, chocolate milk, buttermilk, and

cream. The processed milk is then packaged into a variety of consumer containers

including gallon jugs, half-gallon cartons, and other smaller packages. Milk processing

plants then sell the processed milk to retail outlets, like Food Lion, and other customers.




                                           - 15 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 15 of 56
       38.     Milk processors include independent processing plants, processors owned

by cooperatives or in joint ventures with cooperatives, and retail supermarket chains that

own their own processing plants. The processing plants of supermarket chains process

and bottle milk primarily for the retail banners owned by that chain.

                  The Old Dean/Suiza Merger and the Corrupt Bargain

       39.     DFA’s rise from regional dairy cooperative to a two-level dairy industry

monopolist began with a “corrupt bargain” struck in 2001, just as DFA was emerging as a

national cooperative.

       40.     In 1996, there were 62 milk processing plants in the Southeast United

States. Following a series of acquisitions, a Texas-based dairy company named Suiza

Foods had become the largest fluid milk processor in the United States. At the time,

Suiza owned 67 milk processing plants in 29 states with net sales of more than $5 billion.

       41.     Following its own series of acquisitions, a company that had the same name

as Dean, referred to herein as “Old Dean,” had become the second-largest buyer of raw

milk and the second-largest bottler of processed milk in the United States, operating 43

dairy processing plants in 19 states and with net sales of approximately $4.4 billion.

       42.     By 2001, DFA was the largest dairy producer in the United States, Suiza

was the largest processor, and Old Dean was the second-largest processor. DFA was

supplying raw milk to Suiza, while independent dairy farmers supplied raw milk to Old

Dean. Suiza’s supply costs from DFA were significantly higher than Old Dean’s

independent sources of milk supply.


                                           - 16 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 16 of 56
       43.     In 2001, Suiza Foods announced a plan to merge with Old Dean and to

thereafter operate the merged company under the name Dean Foods Company. The

merger between the two processors has been described as “a case study in how

unchecked mergers beget abusive monopolies that harm both farmers and consumers.”

Claire Kelloway, The Monopolization of Milk, How America’s Biggest Dairy Co-op is

Trying to Become Even Bigger. WASHINGTON MONTHLY, Nov. 21, 2019, available at

https://washingtonmonthly.com/2019/11/21/the-monopolization-of-milk/.

       44.     In connection with the merger, the parties entered into a “corrupt bargain”

consisting of two side deals: Suiza and Old Dean agreed to a long-term, exclusive-dealing

arrangement in which the newly merged Dean entity would exclusively buy all of its raw

milk from DFA (and thus incur a higher milk supply cost) for twenty years. DFA, in

return, agreed that the divested milk processing plants it owned as part of a DOJ-

mandated competitive constraint on the merger would not, in fact, compete with the

newly merged Dean. In essence, DFA agreed not to compete with Dean at the processing

level in exchange for gaining full supply rights to the combined company. Although the

DFA plants were supposed to compete with Dean for business in the Southeast, for

example, DFA would only submit “fake” or “no” bids to Food Lion, even though Food

Lion was a significant potential customer for both companies.

       45.     In its review of the merger, the DOJ raised, among other matters, the

following two concerns relating to post-merger competition: (1) the need for open

competition for the supply of raw milk to the newly created milk processing company,


                                           - 17 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 17 of 56
and (2) the need for Dean to divest certain plants to preserve competition at the milk

processing level.

       46.     The first concern was driven both by an analysis of the then-current state of

competition among milk producers, as well as by the fact that DFA was a party to a 1977

consent decree limiting its ability to enter into contracts for the sale of raw milk with a

duration more than one year. To address this concern, however, the parties to the merger

made a deceptively limited presentation to the DOJ by disclosing a series of milk supply

contracts between DFA and Dean. Those contracts each contained a one-year term,

which would be renewed in successive years if not terminated by the parties, and

“competitive pricing clauses” that would allow Dean to purchase milk from lower-cost

providers.

       47.     But the parties hid from the DOJ that they also had entered into an unlawful

separate agreement—a promissory side note—that imposed the very restriction on

competition for raw milk purchases they said did not exist. On December 21, 2001, Dean

issued a contingent, subordinated promissory note to DFA in the original principal

amount of $40 million (the “Side Note”). The Side Note had a twenty-year term that

bore interest based on the consumer price index. Interest would not be paid in cash but

would be added to the principal amount of the note annually, up to a maximum principal

amount of $96 million. The Side Note would become payable only if Dean materially

breached or terminated its milk supply agreement with DFA without renewal or

replacement. Otherwise, the Side Note would expire in April 2021, without any


                                            - 18 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 18 of 56
obligation to pay any portion of the principal or interest. 1 The Side Note thus effectively

created a $96 million penalty if Dean did not purchase its raw milk from DFA,

notwithstanding the terms of the relevant supply contracts.

       48.     The quid pro quo for this Side Note was a second illegal side agreement

that prevented competition between Dean and the processing plants being divested by

Dean in the merger—undermining the second concern raised by the DOJ. In connection

with the merger, the parties created a new company, controlled by DFA, that would own

the milk processing plants divested in connection with the merger. They simultaneously

entered into an illegal non-compete agreement pursuant to which those divested plants

would not compete vigorously with Dean (the “Horizontal Non-Compete”). In other

words, at the same time the merging parties were holding these plants out to the DOJ as

viable plants that would preserve competition, they had agreed secretly that they would

not vigorously compete. They were in fact aware at the time of the merger that some of

those plants would close shortly after the merger.

       49.     To keep the secret, DFA went to great lengths to avoid detection and

handsomely rewarded members of the conspiracy in order to buy their loyalty. See

generally Leah Douglas, How Rural America Got Milked, WASHINGTON MONTHLY,




       See In re Southern Foods Group, LLC, et al., No. 19-36313-H2-11, ECF No.
       1

1883 (Bankr. S.D. Tex.) (hereinafter “Bankr. Dkt.”) at 67:21; Dean Foods Company,
2019 Form 10-K (Mar. 20, 2020), https://ir.deanfoods.com/sec-filings/sec-filing/10-
k/0000931336-20-000006.
                                         - 19 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 19 of 56
Jan./Feb./Mar. 2018, available at https://washingtonmonthly.com/magazine/january-

february-march-2018/how-rural-america-got-milked/.

        Anti-competitive Effects of the Corrupt Bargain, and Related Litigation

       50.     The Side Note and other related anti-competitive conduct by DFA have

materially harmed competition in the relevant markets and beyond throughout its almost

twenty-year life.

       51.     Immediately after the Suiza/Old Dean merger, DFA lacked sufficient raw

milk capacity to supply milk to all of the Dean plants in the Carolinas. Thus, for the next

few years, DFA refrained from exercising its right—under the Side Note and the various

one-year supply agreements locked in place thereby—to be the exclusive supplier to the

Dean plants in the Carolinas.

       52.     Instead, DFA coordinated the creation of an organization known as the

Southern Marketing Agency (“SMA”), which was an association of milk cooperatives

including DFA, MDVA, and others. Those cooperatives pooled their milk, shared

revenues and expenses equally, and with DFA’s acquiescence notwithstanding its

exclusive rights, sold raw milk to the Dean plants in the Carolinas.

       53.     This arrangement served to benefit DFA. DFA had a higher cost structure

than MDVA and other cooperatives. By agreeing to share costs equally, the other

cooperatives effectively subsidized DFA’s inefficiencies. But for DFA’s exclusive

supply rights created by the Side Note, MDVA would not have agreed to this




                                           - 20 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 20 of 56
arrangement, which effectively “taxed” lower-cost producers and “subsidized” higher-

cost ones.

       54.     In 2007, two class action lawsuits were filed that (i) challenged the

unlawful Side Note and Horizontal Non-Compete and also (ii) temporarily mitigated the

anti-competitive effects of the Side Note, at least in part, because DFA and Dean wanted

to present the artificial appearance of competition during the pendency of those lawsuits.

See generally In re: Southeastern Milk Antitrust Litig., No. 2:08-md-1000 (E.D. Tenn.).

       55.     First, a putative class of dairy farmers filed a suit captioned Sweetwater

Valley Farm, Inc. et al. v. Dean Foods Co. et al., No. 2:07-cv-208 (E.D. Tenn.). The

farmers alleged that Dean, DFA, and several other dairy marketing service providers

conspired to control the milk supply chain and prices for milk in the Southeast by

requiring farmers to use DFA-controlled marketing entities (e.g. SMA) in exchange for

access to processing plants, punishing cooperatives and processors, and other conduct.

       56.     The dairy farmers’ litigation resulted in a settlement of $140 million with

Dean in July 2011 and an additional $140 million settlement with DFA in late 2013.

       57.     A related class action case filed by dairy farmers in the Northeast settled for

$30 million from Dean in 2011 and $50 million from DFA in 2013. See Allen et al. v.

Dairy Farmers of America, Inc. et al., No. 2:09-cv-230 (D. Vt.) (filed Oct., 8, 2009). The

opt-outs of the Northeast settlement are continuing to pursue their antitrust claims in Sitts

v. Dairy Farmers of America, Inc., No. 2:16-cv-287 (D. Vt.).




                                            - 21 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 21 of 56
       58.     Also in August 2007, a putative class of retailers filed a suit captioned Food

Lion et al. v. Dean Foods Co. et al., No. 2:07-cv-188 (E.D. Tenn.). The retailers alleged

that Dean and DFA had violated Section 1 of the Sherman Act by, inter alia, entering

into the illegal Horizontal Non-Compete as the quid pro quo for the Side Note. Food

Lion’s case was settled on undisclosed terms in March 2017.

       59.     By the time of DFA’s settlements with dairy farmers in late 2013, the

supply and demand factors that had existed immediately after the Dean-Suiza merger had

changed. Consumer demand for processed milk had decreased, whereas DFA’s

production capacity had increased. DFA was thus able, and incentivized, at that time to

take full advantage of the anti-competitive Side Note, and caused Dean to first reduce and

then eliminate MDVA’s supply to the Dean plants in the Carolinas.

       60.     Until that point, MDVA had been permitted to obtain raw milk access at

Dean’s Carolinas facilities in exchange for a cost-sharing agreement that heavily favored

DFA. Following the settlements, Dean began to limit MDVA’s and other non-DFA

cooperatives’ access to these facilities.

       61.     In 2013, MDVA sold 1.142 billion pounds of raw milk to Dean plants in

the Carolinas. At the end of 2014, Dean notified MDVA that it would be moving raw

milk volume from MDVA to DFA pursuant to the long-term supply commitment

between Dean and DFA. MDVA’s CEO was informed by Dean that, while MDVA’s

quality and service were excellent, DFA had told Dean that it wanted to replace MDVA’s

volume at the Dean plants.


                                            - 22 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 22 of 56
       62.     Dean began to reduce its purchases from MDVA because of DFA’s

direction that it do so, regardless of price, service, and other competitive factors.

Consequently, in 2015, MDVA lost access to processing over 300 million pounds of raw

milk volume at the Dean Carolinas plants to DFA. By the end of 2018, MDVA’s raw

milk supply to Dean facilities in the Carolinas had dropped to just over 200 million

pounds, with MDVA’s former business moving to DFA. By 2019, Dean was no longer

purchasing any of its raw milk from MDVA.

       63.     Dean’s and DFA’s conduct toward MDVA after the settlement of the

Sweetwater Valley Farms case demonstrates exactly what will happen in the wake of the

recent Asset Sale. When DFA has been able to exert control over the raw milk

purchasing decisions of Dean’s three plants in the Carolinas, as it did because of the Side

Note and as it can now continue to do unfettered due to the Asset Sale, DFA has cut off

its rival cooperatives’ raw milk processing access to Dean plants.

                           Current Raw Milk Suppliers for the
                    North and South Carolina Milk Processing Plants

       64.     There are currently only two competitively significant suppliers of raw milk

to processing facilities in North and South Carolina: DFA and MDVA. DFA and

MDVA, together with their partner cooperatives, account for virtually all of the raw milk

supply to milk processing facilities in North Carolina and South Carolina, with DFA

holding the dominant share in both states.

       65.     While DFA’s operations span the country, its control over the supply of

raw milk is particularly strong to milk processing facilities in the Carolinas. As shown in

                                             - 23 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 23 of 56
Figure 2 below, in 2018, DFA with its partner cooperatives accounted for 65% of North

Carolina’s raw milk production (611 of 937 million pounds) and 59% of South Carolina’s

raw milk production (143 of 242 million pounds). Such high market share is presumptive

indicia of DFA’s market power.

           Figure Two: Raw Milk Supply in North and South Carolina, 2018

                                DFA with                      MDVA with                  MDVA with
          State Milk Volume     Partners        % DFA with     Partners      % MDVA      Partners +
  2018
            (millions lbs.)   Milk Volume        Partners    Milk Volume with Partners    DFA with
                              (millions lbs.)                (millions lbs.)              Partners

  NC              937              611             65%           326          35%          100%

  SC              242              143             59%           99           41%          100%


         66.     No other dairy cooperative or independent dairy farmer supplying milk to

processing facilities in the Carolinas has sufficient presence or size to impede the

exercise of market power of DFA.

         67.     DFA and MDVA also compete to recruit member dairy farms. Many

farmers prefer to be members of MDVA, among other reasons, because MDVA

historically and typically operates at a lower cost than DFA and can pass along those

efficiencies to its members.

                    Current Milk Processors in North and South Carolina

         68.     The milk supply chain in the relevant geographic region has been

consolidating for years as a result of Dean’s and DFA’s complicity and exclusive dealing

arrangements, causing the Dean milk processing facilities in North and South Carolina to




                                                  - 24 -



               Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 24 of 56
become an increasingly important source both for raw milk suppliers looking to market

their raw milk, and for retailers looking for processors from which to purchase fluid milk.

       69.        The milk processing plants located in North and South Carolina are shown

in Figure One above. Figure Three lists the competitively significant milk processors in

North and South Carolina, stating their owner, location, share of milk processing in the

Carolinas, and current estimated processing level as a percentage of total capacity.

       Figure Three: Processing Facility Capacity Utilization in the Carolinas

                                                                                      Est.
                                 Current Volumes            Maximum Capacity
                                                                                 Utilization %
       Facility
                            Annualized gals.       Share     Annualized gals.
Dean                          165,348,837          59%         246,976,744
       Spartanburg, SC        83,720,930                       115,116,279           73%
        High Point, NC        29,302,326                        58,604,651           50%
   Winston Salem, NC          52,325,581                        73,255,814           71%
Kroger (High Point)
                              46,046,512           16%          50,232,558           92%
        High Point, NC
Ingles (Milkco)
                              50,232,558           18%          66,976,744           75%
         Asheville, NC
Borden
                              20,930,233            7%          41,860,465           50%
        Charleston, SC
Total                         282,558,140                      406,046,511

       70.        Before the Asset Sale, Dean owned three critical fluid milk processing

plants in the Carolinas: the High Point and Winston-Salem plants in North Carolina and

the Spartanburg plant in South Carolina. In North and South Carolina, the legacy Dean

facilities are centrally located and control a combined 59% of milk processing.

       71.        Dean’s competitive significance as a milk processor in the Carolinas is

even stronger than indicated by this market share because 34% of milk processing in the

Carolinas is controlled by facilities owned and operated by supermarket chains. Hunter


                                               - 25 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 25 of 56
Farms, which is owned by the supermarket chain Kroger, possesses a 16% share and is

operating at 90% of its capacity. Although Hunter Farms does not exclusively sell to

Kroger, and in fact currently sells to Food Lion, its principal purpose is to provide a

reliable source of milk to its owner Kroger and to Kroger’s other banners. Likewise,

Milkco’s Asheville, North Carolina facility possess an 18% share, is owned by and

affiliated with supermarket chain Ingles Markets, and serves first and foremost as a

source for Ingles Markets’ milk.

       72.     Until the Asset Sale was consummated, neither DFA nor MDVA owned

any milk processing facilities in the Carolinas.

       73.     Dean’s concentration worked to the detriment of DFA’s only competitor in

the region, MDVA. Following MDVA’s loss of access to the Dean facilities in the

Carolinas described above, it was forced to develop a patchwork system of processing

facilities to market its farmers’ raw milk. Currently, this patchwork system includes

Hunter Farms, Milkco, and Borden. This system is not sustainable in the long term.

       74.     Because of the Asset Sale and DFA’s anti-competitive campaign, MDVA is

at serious risk of soon losing access to the Hunter Farms processing facility for a

substantial portion of the raw milk volume that MDVA currently supplies to that plant.

       75.     The other non-legacy-Dean facility in North Carolina—Milkco—is

operating at 75% capacity and purchases most of its milk from a DFA affiliate. Milkco

also processes its milk into corrugated boxes rather than milk crates, which greatly

reduces the number of potential purchasers from that facility due to incompatible


                                           - 26 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 26 of 56
packaging. Food Lion, for example, is unable to purchase from Milkco due to these

packaging limitations.

       76.     The final option, Borden, is owned by currently the second-largest fluid

milk processor in the U.S. Borden filed for Chapter 11 bankruptcy in January 2020,

however, and it is difficult to predict the long-term viability of Borden’s facilities.

Furthermore, while Borden may be an option for some dairy farmers that sell raw milk to

plants in the Carolinas, Borden is not a sustainable option for MDVA because it is

located on the South Carolina coast in Charleston, far away from the vast majority of

MDVA’s farmers. Borden’s proximity to the Atlantic Ocean cuts its serviceable area in

half, and shipping to this facility results in higher hauling costs and logistical problems.

Finally, many of Borden’s facilities are viewed as inferior by dairy farmers and retailers.

       77.     Sending raw milk north is also not a viable option long-term for MDVA

farmers because the shipping costs associated with transporting raw milk that distance

sharply cuts into the already thin margins for MDVA farmers. This undesirable

alternative would also work against the intent of the Federal Order system in this part of

the country, which is designed to encourage the flow of milk from North to South.

       78.     Because MDVA does not believe that it will be able to continue to utilize

the Hunter Farms, Milkco, and Borden plants located in the Carolinas at anywhere near

the current aggregate levels of MDVA’s raw milk sales to those plants, MDVA was

relying heavily on the prospect of competing for access to Dean plants in the Carolinas

once the Side Note and DFA’s contractual supply commitments expired. Without the


                                            - 27 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 27 of 56
ability to compete for the supply to legacy Dean facilities in the Carolinas, MDVA will

cease to be a viable cooperative in the region.

       79.     At the other end of the supply chain, there is no economically viable source

of processed milk in the Carolinas other than these six plants for the vast majority of

customers that purchase processed milk from the Carolinas.

       80.     By way of example, at the end of 2017, Food Lion issued a Request for

Proposal seeking an alternative processed milk supplier for several of its distribution

centers, two of which were in North Carolina. At the time, Dean was supplying the two

North Carolina distribution centers, but at non-competitive prices. Food Lion received

bids for one of the distribution centers (Salisbury, North Carolina) from Kroger (Hunter

Farms), from Dean, and from Milkco, and bids for the other distribution center (Dunn,

North Carolina) from Kroger (Hunter Farms), from Dean, from Borden, and from a

MDVA milk processing facility in Newport News, Virginia. Borden was not a viable

option because its freight costs from the coast were too high; Milkco was not an option

because of its corrugated boxing; and Hunter Farms made clear that it only had the

capacity to provide milk to one of the two distribution centers for which it bid.

       81.     The current Dean price, and the price that Dean bid, were higher than the

Hunter Farms bid for Salisbury by more than 10% and more than 7%, respectively. The

current Dean price, and the Dean bid, were higher than the MDVA bid for Dunn by more

than 8% and more than 4%, respectively.




                                           - 28 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 28 of 56
       82.     Dean’s 2017 bid to Food Lion demonstrates its practice of seeking supra-

competitive pricing, despite the fact that it has substantial excess capacity, when it

believed it was the only viable processing plant for a retailer. Food Lion’s Salisbury

distribution center was forced to contract with a plant (Hunter Farms) owned by its direct

competitor, and which operates at over 90% of its capacity. Food Lion’s Dunn

distribution center was forced to contract with a MDVA facility 3.5 hours away, all while

Dean’s nearby High Point facility was operating at only 50% of its capacity.

       83.     Neither the MDVA facility nor Hunter Farms is an economical long-term

source for Food Lion’s distribution centers. Food Lion already faces thin profit margins

on processed milk. To continue sourcing affordable milk, Food Lion’s key Salisbury

distribution center has resorted to buying milk from a processing plant owned by one of

its fiercest competitors. This is not a long-term solution, since Kroger’s Hunter Farms

facility is already operating near capacity (92% utilization), and Kroger will always be

the preferred customer for its processor. In addition, Hunter Farms’ competitive pricing

is due in part to the fact that it currently purchases raw milk from MDVA, and as stated

above, MDVA is at serious risk of soon losing access to the facility in favor of DFA.

       84.     MDVA’s Newport News facility was not in 2017, and is not now, a

competitive source for Food Lion’s Salisbury distribution center because it is much

farther away than legacy Dean or Hunter Farms, and the transportation costs are too high.

And although the MDVA facility currently supplies Food Lion’s distribution center in

Dunn, North Carolina, it is still approximately 215 miles—or an estimated 3.5-hour


                                            - 29 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 29 of 56
drive—away, leading to high transportation costs, compared to the closest legacy Dean

plant that is 105 miles away.

       85.     As for the two other non-legacy-Dean milk processing facilities, the Borden

plant in Charleston is in bankruptcy, making it difficult to predict its long-term viability,

and its transportation costs to Food Lion’s North Carolina distribution centers are high

because of its location in coastal South Carolina. The Milkco plant in Asheville is not a

preferred source of processed milk for Food Lion because of its incompatible packaging.

Thus, once the effects of the Asset Sale set in, Food Lion will have no viable, long-term

alternative to submitting to DFA plants’ supra-competitive pricing.

                           DFA’s Acquisition of Dean’s Assets

       86.     The Asset Sale (including the processing plants in North and South

Carolina) by Dean to DFA was accomplished through a bankruptcy proceeding initiated

by Dean on November 12, 2019, in the United States Bankruptcy Court for the Southern

District of Texas, Houston Division, Case No. 19-36313. At the time the bankruptcy case

was filed, Dean issued a press release stating that it was in advanced negotiations with

DFA—and only DFA—to sell substantially all of its assets to DFA in a bankruptcy

process designed to avoid antitrust scrutiny. In essence, the parties were once again

turning to each other—just as they did at the time of the Suiza-Dean merger—to further

their joint anti-competitive goals and deflect the harsh light of antitrust review and

challenge.




                                            - 30 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 30 of 56
       87.     On March 30, 2020, several parties submitted bids for various of Dean’s

assets, including (a) DFA, which submitted a bid to purchase most of Dean’s assets

across the United States, including Dean’s three milk processing plants in North and

South Carolina, and (b) MDVA, which submitted a bid to purchase only the processing

plant in High Point, North Carolina.

       88.     The legacy Dean High Point plant operates at only 50% capacity. Taking

advantage of the size and resources that its anti-competitive campaign allowed it to

accumulate, DFA steadfastly insisted on buying that plant as part of a “take it or leave it”

package deal that included either all forty-four legacy Dean plants or none. Upon

information and belief, DFA did so not because its business goal is to operate the plant,

but rather for the purpose of creating the anti-competitive effects described herein.

Specifically, the only purpose for this tactic—and the only reason that DFA was

interested in the High Point plant—is because of its strategic role in helping DFA to

suppress competition from its only remaining competitor in the region.

       89.     MDVA was and is a willing and viable buyer for the High Point plant who

could operate that plant effectively and whose ownership thereof would avoid or mitigate

the anti-competitive effects complained of herein.

       90.     Shortly after midnight on March 31, 2020, however, Dean predictably

announced DFA as the winning bidder for assets it bid on, including the processing plant

in High Point, North Carolina, and identified MDVA as the backup bidder for the

processing plant in High Point.


                                           - 31 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 31 of 56
       91.     On April 1, 2020, Food Lion and a related corporate entity filed a Limited

Objection [Bankr. Dkt. 1406] to the proposed sale of certain of Dean’s assets to DFA due

to the potential anti-competitive impact the sale would have on the raw and processed

milk markets in and around the Carolinas. On the same date, MDVA filed a similar

Objection [Bankr. Dkt. 1415] to the proposed sale of certain assets by Dean to DFA.

       92.     The Bankruptcy Court authorized Dean to sell the majority of its assets to

DFA, 2 but expressly did not address the issues under the antitrust laws presented by the

present complaint. The Bankruptcy Court entered an order dated April 5, 2020

permitting the sale to proceed pursuant to the terms of the asset purchase agreement (the

“Sale Order,” Bankr. Dkt. 1572). The Sale Order further authorized Dean, in the event

DFA failed to close on its Asset Purchase Agreement (“APA”), to sell assets to the

backup bidders, including the processing plant in High Point, North Carolina, to MDVA.

       93.     To resolve Food Lion’s and MDVA’s objections to the Sale Motion, the

Bankruptcy Court included in the Sale Order the following provisions to preserve Food

Lion’s and MDVA’s rights to challenge the Asset Sale:

       Anti-Trust Enforcement. Notwithstanding anything to the contrary
       contained herein, no provision of this [Sale] Order or the APA shall operate
       to impair, prejudice, or otherwise abrogate the rights (if any) of The Stop &
       Shop Supermarket Company LLC and Food Lion LLC, the Maryland and
       Virginia Milk Producers Cooperative Association, Inc. and the California
       Dairies, Inc. and any of their affiliates, subsidiaries, successors, or assigns,


       2
         DFA agreed to purchase forty-four of Dean’s fifty-seven fluid milk plants, along
with various other assets, for a total value of $433 million. The purchase price consists of
$325 million in cash and $108 million in forgiveness of debt owed by Dean to DFA. The
Bankruptcy Court also approved the sale of eight facilities and two distribution centers to
Prairie Farms Dairy, Inc., and the sale of one facility to Mana Saves McArthur, LLC.
                                             - 32 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 32 of 56
       to challenge the Sale Transaction under the antitrust laws of the United
       States. All such rights are explicitly reserved pursuant to this order.

       94.     As such, while the Sale Order authorized Dean to sell certain assets to

DFA, the order further preserved Food Lion’s and MDVA’s rights to file the present

challenge to the Asset Sale.

       95.     On May 1, 2020, DFA and Dean closed on the Asset Sale, making DFA

both the largest milk producer and the largest milk processor in the United States. 3 A

dairy conglomerate was born.

       96.     Upon information and belief, Dean’s bankruptcy filing gave it the right and

opportunity to extinguish the obligations of the Side Note by conveying its milk

processing plants free and clear of the pre-bankruptcy obligation of those plants, created

by the Side Note or otherwise, to purchase milk from DFA. Had Dean accepted a bid

from MDVA or any other non-DFA entity for the Carolinas facilities, that entity would

have taken ownership of the plant(s) without any obligation to purchase raw milk from

DFA. But now, DFA’s acquisition of the majority of the legacy Dean plants will have

even greater anti-competitive effects on the milk supply chain than did the Side Note,

because it allows DFA to now control supply rights to the legacy Dean plants forever.




       3
         The Asset Sale contemplates the sale of forty-four legacy Dean plants to DFA.
On the evening that the Asset Sale closed, however, DFA and the DOJ consented to the
divestiture of three of the forty-four legacy Dean plants within thirty days, in order to
preserve competition in Northeastern Illinois, Wisconsin, and New England. See United
States et al. v. Dairy Farmers of Am., Inc. et al., No. 1:20-cv-2658 (N.D. Ill.), ECF Dkt. 4
(filed May 1, 2020).
                                            - 33 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 33 of 56
                            ANTI-COMPETITIVE EFFECTS

       97.     Section 7 of the Clayton Act prohibits mergers if “the effect of such

acquisition may be substantially to lessen competition, or to tend to create a monopoly.”

15 U.S.C. § 18. This prohibition includes vertical mergers, as Congress made plain in the

1950 amendments to the Clayton Act. A vertical merger may violate antitrust laws where

the merging parties would—by means of their control of an input that their competitors

need—have the incentive and ability to substantially lessen competition by raising the

price for or reducing that input.

       98.     A potential negative effect of vertical acquisitions, such as those of a raw

milk producer acquiring a milk processor, is when the combined entity takes actions to

raise its rivals’ costs of doing business. This occurs because the combined entity either

offers worse terms to rival firms for the purchase and sale of their goods than they would

if they were not integrated, or refuses to deal with rival firms, resulting in foreclosure.

       99.     Foreclosure can take two forms. First is “customer foreclosure.” The

combined entity can refuse to buy (or give worse conditions for the purchase of) raw milk

from rival cooperatives. Second is “input foreclosure.” The combined entity can sell its

own raw milk to rival processors at higher prices or reduce raw milk sales to rival

processors, with the intent of raising their costs of obtaining raw milk, thus making them

less competitive at the processing level to the benefit of the combined entity.

       100.    The Government Accountability Office (“GAO”) recognized the potential

of customer foreclosure in the milk industry, concluding in a 2019 report that


                                            - 34 -



             Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 34 of 56
cooperatives’ “[i]nvestments in processing facilities can benefit farmers within a

cooperative while reducing market access for farmers outside of the cooperative.” U.S.

Government Accountability Office (2019), Dairy Cooperatives: Potential Implications of

Consolidation and Investments in Dairy Processing for Farmers, GAO-19-695R (27

Sept), at 6, available at https://www.gao.gov/assets/ 710/701795.pdf. The GAO

specifically cited as an example a joint venture that included DFA, and that may “restrict

market access, for farmers who are not members of the cooperative.” While the GAO

noted that this harm should be weighed against benefits resulting from new market access

from a new plant being built, those benefits do not apply when DFA acquires existing

plants, such as the legacy Dean facilities in the Carolinas.

       101.   Absent DFA’s incentives to consolidate power in both the raw milk and

processed milk markets brought about by the Asset Sale, both its raw milk cooperative

and its milk processing plants would find it profitable to supply to the lowest-cost

processors or to buy from the lowest-cost cooperatives. But with the Asset Sale, DFA

has every incentive to make these markets less competitive. In short, the window for

competition that would otherwise have opened by expiration of the Side Note has now

been permanently closed by the Asset Sale.

       102.   As set forth below, the Asset Sale will substantially lessen competition for

the production, processing, and distribution of fluid milk in the region and cause

significant losses and harm to MDVA and Food Lion.




                                            - 35 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 35 of 56
                               Effect on Raw Milk Market

       103.   In the upstream raw milk market, the Asset Sale will reduce potential

sources of raw milk and/or increase the price of raw milk to non-legacy-Dean processing

plants and reduce or eliminate DFA’s one remaining competitor (and its only check on

pricing) in the region.

       104.   Dean was only a milk processor and relied on dairy cooperatives and

independent farms for its supply of raw milk. Therefore, even though Dean recently

stopped purchasing MDVA raw milk, absent the sale of the legacy Dean assets to DFA,

MDVA would have the opportunity to compete for raw milk supply access to the legacy

Dean plants in the future.

       105.   This is not merely theoretical competition. The dissolution of the Side

Note in connection with Dean’s bankruptcy would permit MDVA to compete to supply

raw milk to the legacy Dean North and South Carolina milk processing facilities.

Because of its lower cost structure, high quality product and service, and competitive

pricing, MDVA was well positioned to compete for access to legacy Dean facilities if

those plants had remained independent from DFA.

       106.   But for the sale of Dean assets to DFA, some or all of the following effects

would have been likely at the time the Carolinas plants gained the right to purchase raw

milk free of the obligations of the Side Note:

          o The legacy Dean plants would select the most efficient way of purchasing
            raw milk;



                                           - 36 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 36 of 56
          o DFA competitors such as MDVA would have access to legacy Dean
            processing plants when those plants are the most efficient or cost-effective
            option;
          o DFA competitors such as MDVA would be able to recruit dairy farmers to
            join their cooperatives as an alternative to DFA, as those farmers would
            have the potential to better market their milk through more efficient
            cooperatives.
          o Non-legacy-Dean plants would have multiple, competitive suppliers of raw
            milk, which would allow those plants to seek efficient, low-cost raw milk
            supplier agreements.

       107.    The expected result of the above is that raw milk would be provided to each

processing plant by the closest, most efficient dairies or cooperatives, reducing market

waste through excessive transportation and through continued support of inefficient

dairies and cooperatives.

       108.    The resulting greater competition at the raw milk level would result in

better raw milk prices to milk processors. To try to gain and retain members, DFA and

MDVA would have to compete to offer the best prices to processors.

       109.    But with the Asset Sale, none of these effects will be realized, and raw milk

prices will increase. MDVA will lose both an outlet for sales of its raw milk and its

members, weakening or eliminating its ability to be a check on DFA’s market power.

       110.    First, the Asset Sale has decisively and permanently foreclosed any hope

that MDVA would have access to legacy Dean processing facilities. As a direct result of

the Asset Sale, MDVA will suffer a permanent loss of access to the legacy Dean facilities

in the Carolinas because DFA will never allow a rival to access its facilities, irrespective

of capacity.


                                           - 37 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 37 of 56
       111.   Non-DFA dairy producers selling to milk processing facilities in the

Carolinas require the ability to compete for access to the legacy Dean facilities to stay in

business. Now that the Asset Sale has closed, DFA can and will anti-competitively

leverage its newfound downstream market power in milk processing into additional

upstream market power in milk production, at the expense of its only significant

competitor in the region. DFA has the ability and incentive to foreclose MDVA from

access to supplying raw milk to the acquired legacy Dean facilities in the Carolinas.

       112.   Similar events have unfolded for the last several years as DFA has

purchased milk processors in other parts of the country. For example, in 2017, DFA

purchased Cumberland Dairy, a former independent processor located in New Jersey,

with whom MDVA had previously enjoyed a profitable and mutually beneficial

relationship that included the sale of raw milk and a successful co-packing partnership.

Almost immediately following DFA’s takeover of the facility, MDVA lost all of its raw

milk business as Cumberland quickly switched to DFA for its milk supply.

       113.   Historically, MDVA and DFA have competed closely in the market for the

supply of raw milk to processing facilities in North and South Carolina. MDVA

successfully competed against DFA on price and maintained exclusive access to the

legacy Dean High Point facility from 2006 until 2015, at which point Dean gave

approximately half of the supply to DFA because the latter exercised its rights under the

anti-competitive Side Note.




                                           - 38 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 38 of 56
       114.   Until 2019, when MDVA’s access was finally cut off, MDVA and DFA

continued to supply raw milk to the Dean facilities. Now that DFA has acquired all of

the Dean facilities in the Carolinas, MDVA will be permanently foreclosed from the

ability to compete to supply these three crucial facilities, forcing it to turn to more distant

plants, making its bids at those plants less competitive and less profitable due to its higher

transportation costs. DFA has the ability and incentive to raise MDVA’s costs and lower

its farmers’ profits by forcing inefficient “cross-shipments”—i.e., preventing MDVA and

its farmers from accessing the closest milk processing facilities.

       115.   In addition, as described herein, MDVA’s current patchwork system of

processing facilities in North and South Carolina that will purchase its farmers’ milk is

not sustainable. Without the ability to compete for access to the legacy Dean facilities in

the Carolinas, MDVA will be substantially foreclosed from access to milk processing

facilities in North and South Carolina.

       116.   Due to the prospect of and/or as a result of this foreclosure, many MDVA

farmers will be forced to leave MDVA and join DFA, because the potential to sell raw

milk to local processing facilities will only be available if a dairy farmer is a member of

DFA. As it loses members to DFA, MDVA eventually will be significantly weakened or

pushed out of the market for the supply of raw milk to processing facilities in North and

South Carolina, thus eliminating choice for farmers. Dairy farmers not within DFA will

have no other independent processing plants to sell their raw milk—both depressing their

prices and forcing them to join DFA or potentially be forced out of business.


                                            - 39 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 39 of 56
       117.   This customer foreclosure will cause higher prices for raw milk. By using

its access to the legacy Dean plants and the lack of viable economic alternative facilities

to compel farmers to leave MDVA, DFA will weaken or eliminate its only rival

cooperative in the supply of the region’s raw milk. As a result of this enhanced market

power in raw milk, and as the only economically significant dairy cooperative in the

Carolinas, DFA will have the ability and incentive to raise raw milk prices to processors

and, in turn, processed milk prices to retailers and other customers.

       118.   In addition to DFA having both the ability and incentive to disadvantage its

rival cooperative, Plaintiffs also have the benefit of past experience suggesting that DFA

will in fact act on these incentives in the wake of the Asset Sale. DFA’s behavior in

other regions (Cumberland Dairy) and its pre-acquisition behavior in the Carolinas under

its supply agreement with legacy Dean (forcing Dean to drop MDVA supply)

demonstrate that DFA has found foreclosure to be a profitable practice because of its

effect on competitors and because it provides leverage to compel farmers to switch to

DFA. DFA has a history of anti-competitively leveraging its supply agreement to restrict

and eventually eliminate competitors’ access to legacy Dean plants; and of anti-

competitively leveraging downstream market power in milk processing into additional

upstream market power in milk production. This past conduct provides insight into the

post-Asset-Sale world and guidance about the feasibility and likelihood of foreclosure.

       119.   Post-acquisition, DFA’s ability to foreclose rivals is only strengthened, as

outright ownership will allow more control over the legacy Dean processing facilities


                                           - 40 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 40 of 56
than a contract. This is because prior to the acquisition, Dean maintained the ability to

breach or threaten to breach the contract which would allow Dean to keep some of DFA’s

anticompetitive pursuits in check. Following the acquisition, DFA’s desired foreclosure

strategy can no longer be constrained by Dean’s independent interests.

       120.   Upon information and belief, DFA already has, or at a minimum has a

dangerous probability of achieving, monopoly power of over 60% of the market for the

production of raw Grade A milk in the relevant geographic region. The suppression of

competition alleged herein will have the effect of skyrocketing this share in the coming

years, as it will weaken or eliminate the viability of DFA’s only remaining competitor,

leaving DFA with no supply- or demand-side constraints on its power over price.

                             Effect on Processed Milk Market

       121.   DFA’s ownership of the legacy Dean Carolinas milk processing plants will

also create an incentive for DFA to advantage those plants by engaging in input

foreclosure, i.e., reducing competing processing plants’ access to raw milk. With milk

processing plants of its own, DFA will have the ability and the incentive, if it is more

profitable, to raise the cost of or simply reduce the raw milk supply to competing plants.

This will raise rivals’ costs, which will allow DFA to sell milk at higher prices.

       122.   DFA will engage in this second form of foreclosure because the tradeoff

between any lost profits in the upstream market from selling raw milk to rivals at higher-

than-optimal prices or reducing the sale of raw milk to rivals will be outweighed by

DFA’s increased profits in the downstream market from facing less competition in the


                                           - 41 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 41 of 56
market for processed milk. In the recently released FTC-DOJ Draft Vertical Merger

Guidelines, an example highlights the Agencies’ concerns with exactly this situation:

       [Following a merger of an orange orchard and orange juice producer] the
       merged firm may be able to profitably stop supplying oranges . . . to rival
       orange juice suppliers . . . The merged firm will lose the margin on the
       foregone sales of oranges but may benefit from increased sales of orange
       juice … If the benefits outweighed the costs, the merged firm would find it
       profitable to foreclose.

       123.   Absent the sale of the legacy Dean milk processing facilities in the

Carolinas to DFA, competition would increase at the downstream processed milk level as

processors competed to have retailers buy their products.

       124.   Without competition following the Asset Sale, however, DFA’s milk

processing plants will have no valid and independent check on the amounts it charges

retailers for processed milk. Higher input costs will result in higher processed fluid milk

prices offered by both DFA’s legacy Dean plants and by DFA’s rivals, thereby raising

prices to processed milk customers, including retailers. In addition, many customers will

be left with no alternative option but to accept DFA’s supra-competitive pricing.

       125.   Moreover, even if DFA’s own costs go down as a result of the Asset Sale,

due to the nature of competition in the processed milk market (or lack thereof), processed

milk prices offered by DFA would still be likely to go up because DFA’s competitors

would see their costs for raw milk go up. Because processors will naturally sell products

at the highest price possible without losing business, the second-most competitive

processor will significantly influence the price offered by the winning bidder. The higher



                                           - 42 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 42 of 56
costs of DFA’s rivals would force those rivals to raise their prices to retailers, and this

would allow DFA to bid and win at higher prices.

       126.   As shown in above in Figure Three, the legacy Dean plants in North and

South Carolina are operating well below their capacity: the legacy Dean High Point plant

operates at 50% of capacity; the Spartanburg plant at 73% of capacity and the Winston

Salem plant at 71%. This extra capacity adds an increased opportunity and incentive for

DFA to divert some milk supply and customer demand away from its rival processing

plants to increase rivals’ costs.

       127.   The movement of farmers to DFA will cut off those farmers’ supply of raw

milk to rival processing plants that are not supplied by DFA, and send that raw milk to

the three legacy Dean plants operating below capacity. Now that DFA controls enough of

the raw milk supply and processing plants that can handle all of its raw milk, DFA has

the ability and incentive to favor its own processors over its rivals with respect to the

supply of raw milk, thus reducing sales of raw milk to rival processors. If that option is

more profitable than merely raising its rivals’ cost of raw milk, then that is what DFA

will do.

       128.   Currently the Hunter Farms milk processing facility in High Point, North

Carolina, is the only plant able to sell milk to Food Lion’s key Salisbury, North Carolina

distribution center at a competitive and economically viable price, taking into account

transportation and other costs. The anticompetitive effects described above will either

compel Hunter Farms to switch to DFA for its supply of raw milk, thus eliminating all


                                            - 43 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 43 of 56
competition for the supply of raw milk in the region and allowing DFA to raise its raw

milk prices, or cause a decline in Hunter Farms’ production of processed milk. And

because Hunter Farms is owned by a grocery chain, it will serve itself first, leaving

customers like Food Lion with a reduced volume or no milk at all, and/or the ability to

purchase milk only at supra-competitive prices from DFA.

                  Significant Barriers to Entry to the Relevant Markets

       129.   The Asset Sale will make it extremely difficult for any new milk processor

to enter the market, which already faces substantial barriers. DFA’s degree of control

over the supply of raw milk to processing facilities in the Carolinas will prevent sufficient

competition from milk producers for any prospective milk processor to be able to seek

competitive prices.

       130.   Due to the region’s geography and the relatively high transportation costs,

most milk processors located outside of the Carolinas are not economically viable options

for dairy farmers and cooperatives that supply the legacy Dean Carolinas facilities.

       131.   Moreover, due to the Carolinas’ relatively low dairy production as

compared to the national average, the construction of a new local milk processing facility

is not economically feasible. Upon information and belief, only one of the six facilities

currently serving the region is above 80% utilization. National dairy demand has been

declining consistently over the last few years. The dairy processing industry in the

Carolinas is currently facing an over-capacity problem that makes the region an unlikely

target for entry of additional milk processors. The two largest independent milk


                                           - 44 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 44 of 56
processors—Dean and Borden—recently filed for bankruptcy protection, which would

likely make financing such a project nearly impossible.

       132.   MDVA previously analyzed whether building a new processing facility in

the region would be a financially viable option and, after careful consideration, has

determined that it would not be feasible, particularly in the face of high costs and

declining milk demand. Upon information and belief, other participants in the milk

supply chain have reached a similar conclusion concerning a new processing plant.

       133.   The sale of the legacy Dean Carolinas facilities to DFA has made a new

milk processing facility’s entry into the market even less likely. Absent the sale of the

legacy Dean Carolinas facilities to DFA, a potential new entrant to the milk processing

market would have had MDVA, DFA, and their affiliated cooperatives as available

options to compete as sources of raw milk for its facility. Even with DFA’s long-

standing relationship with Dean, DFA currently still competes for access to other

facilities in the region. Following the Asset Sale, however, DFA and its affiliated

cooperatives now have no incentive to supply raw milk at competitive prices to non-

legacy-Dean facilities. The Asset Sale therefore increases the already high barriers to

entry as a milk processor in the Carolinas.

       134.   Entry into the raw milk production market in the region also is unlikely.

Dairy farming entails high fixed costs and a lead time of about two years from calf to a

revenue-generating cow. Dairy farmers have seen significant consolidation, years of

oversupply, eroding profit margins, and exit, which are not conducive to new entry.


                                              - 45 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 45 of 56
                                 ANTITRUST INJURY

       135.   DFA’s conduct threatens to and will result in antitrust injury to Plaintiffs

Food Lion and MDVA, as it tends to and will substantially lessen competition. DFA now

has the ability both to foreclose rival cooperatives in the milk production market from a

majority share of raw milk buyers (i.e. milk processing facilities) in North and South

Carolina, while also foreclosing rival processing plants in North and South Carolina from

a majority share of raw milk suppliers.

       136.   The foreclosure and reduction in competition described above has caused

antitrust injury to MDVA by, among other things: (i) causing MDVA to be unable to sell

raw milk to nearby processing facilities; and (ii) increasing shipping costs to ship raw

milk to processing facilities that are much further away than the legacy Dean facilities.

MDVA has suffered and will suffer antitrust injury due to its foreclosure from access to

economically viable milk processing.

       137.   The entire premise behind DFA’s acquisition of all three of the legacy Dean

milk processing plants in North Carolina is for DFA to consolidate its already gained

monopoly or near-monopoly power, increase control over dairy farmers, and increase the

likelihood that MDVA, and its affiliated milk cooperatives, will be foreclosed from

access to milk processing. DFA’s intention is to reduce MDVA’s access to processing

facilities that it can supply efficiently, making their milk production businesses not

economically viable. In the wake of the DFA-Dean transaction, DFA now has the ability

and incentive to foreclose MDVA from access to the legacy Dean facilities.


                                           - 46 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 46 of 56
       138.   The most important factor influencing the long-term viability and overall

competitiveness of a dairy cooperative is the cooperative’s ability to transport its

members’ milk to local processing facilities. To continue as a viable competitor,

MDVA’s farmers must have access to local processing facilities to sell their milk.

       139.   Now that DFA has acquired all three Dean facilities in the Carolinas,

MDVA will be permanently cut off from access to DFA-owned processing facilities in

the region because DFA will not allow a direct competitor to have access to a DFA-

owned processing facility. MDVA will lack access to the legacy Dean plants regardless

of price, quality or other pro-competitive factors and solely because of the anti-

competitive incentives of DFA’s ownership. Moreover, MDVA’s access to non-Dean

facilities in the Carolinas is untenable and unsustainable in the long run.

       140.   This lack of access will also make it unlikely that MDVA will be able to

continue as an independent cooperative serving the Carolinas. In the short term, many

farmers will face a choice between less profitable, more distant processing partners, or

joining DFA. As it loses members to DFA, MDVA will eventually be significantly

weakened or pushed out of the market for the supply of raw milk, leaving DFA as the

only economically significant dairy cooperative in the region.

       141.   MDVA’s substantial foreclosure from access to critical processing

facilities, its loss of members to DFA, and its reduction in or elimination from the raw

milk market in the region constitute antitrust injury.




                                            - 47 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 47 of 56
       142.   The Asset Sale will also harm downstream purchasers of processed milk,

such as Food Lion, and ultimately consumers who purchase fluid milk at grocery stores.

       143.   The Asset Sale and the resulting harm to competition in the relevant

geographic markets for both raw and processed milk will cause Food Lion to pay higher

prices for processed milk due to increased raw milk prices, reduced competition among

milk processors, and reduced access to raw milk by milk processors. As described above,

the result of the Asset Sale will be to allow DFA to raise its processing rivals’ costs for

raw milk, either through reducing sales of DFA raw milk or by eliminating non-DFA

options entirely. The reduction of competition from, or elimination of, MDVA will bring

about the “downstream” effect of higher prices for processed milk, both because higher

raw milk prices will be passed on by milk processors, and because competition between

milk processors will be reduced. As a result, processed milk prices to retailers such as

Food Lion, and ultimately to consumers, will increase.

       144.   In order to win a procurement contract, the winning supplier has to bid

lower than its rivals. The price of processed fluid milk increases because the losing

bidder’s costs determine the winner’s final bid. Thus, the price Food Lion can expect a

RFP process to yield is not based on the lowest price a processor would be willing to

offer but the second-lowest price. This is because playing the best two firms off each

other only works until one of them drops out. Thus, even if DFA (as processor) is the

winning bidder because it has lower costs, the price Food Lion must pay will be based

not on the price that DFA could have offered but based on DFA’s processor rivals’ bids.


                                            - 48 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 48 of 56
If those rival bids are higher as a result of the DFA’s foreclosure strategy, the price paid

by customers of processed milk would be expected to increase. If DFA can raise the

costs of rival processing suppliers, then DFA can bid higher and still win.

       145.    This raising of processed milk prices and other potential harm that will

result in either or both the raw milk and processed milk markets constitutes threatened

injury to Food Lion under Section 16 of the Clayton Act.

       146.    Because the injury to MDVA (foreclosure) and Food Lion (increased

prices) flows directly from both the reduction in competition caused by DFA’s

foreclosure of MDVA’s access to the legacy Dean Carolinas facilities prior to the Asset

Sale and the further reduction in competition likely to be caused as a result of the Asset

Sale transaction, as well as from anti-competitive acts made possible by that illegal

transaction, the threatened injuries to MDVA and Food Lion from the transaction

constitute antitrust injury.

       147.    These future anti-competitive results are likely to occur because they are

the economically rational result of placing under combined ownership a company that

possesses market power over an input (DFA, and raw milk) and a company that possesses

market power over a product made from that input (legacy Dean and processed milk).

       148.    This case, however, presents the rare scenario where a court considering an

asset acquisition need not base its decision solely on economic consequences likely to

occur in the future. Here, the market is already lacking in competition for the same

reasons that are perpetuated by the Asset Sale: a shared interest between DFA and Dean.


                                            - 49 -



            Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 49 of 56
The Side Note and DFA’s ability to cause Dean to foreclose MDVA access to its plants

up to the very day of the closing of the Asset Sale, whether by exercising the power

gained by the Side Note, through other agreements, or otherwise, created a lack of

competition that, without the Asset Sale, would have gone away and been replaced with

greater competition with the discharge of the Side Note. With the Asset Sale, the

competitive environment will worsen because of joint ownership.

       149.   The injuries to MDVA, Food Lion, and the public at large will be

irreparable. Those injuries will not be adequately compensable by money damages.

       150.   The public interest, including the interest in ensuring competition, weigh

heavily in favor of a divestiture.

       151.   DFA had no legitimate and cognizable interest in completing its illegal

acquisition of the legacy Dean plants in the Carolinas.

              Injunctive Relief is Narrowly Tailored to Ensure Competition

       152.   The three legacy Dean processing facilities in North and South Carolina

were included in the Asset Sale to DFA. Due to the structure and composition of the

markets described herein, the Asset Sale allows DFA effectively to control the markets

for both the supply of raw milk and for processed and packaged dairy products in the

region. In fact, DFA’s control of the milk supply chain is now even stronger than that of

Dean following the Dean-Suiza divestiture.

       153.   It is critical that at least one of DFA’s three legacy Dean facilities located in

the Carolinas be divested to an independent and qualified buyer, and that the divested


                                            - 50 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 50 of 56
facility be one that ensures competition in the supply of raw milk and processed fluid

milk products in the region going forward. The long-term anti-competitive consequences

of the Dean-Suiza merger have shown what will happen in the absence of a robust

divestiture here.

       154.   Such a divestiture buyer should: (i) be independent from DFA; (ii) be a true

and capable competitor in the region; and (iii) have a proven track record and experience

with processing and co-packing consumer products.

       155.   To effectively utilize one of the legacy Dean processing facilities to

increase competition, the divestiture buyer must be incentivized to compete vigorously as

a dairy producer in the area. A processor without dairy production in the area will have

perverse incentives to deal exclusively with the largest cooperative in the area, DFA, in

hopes of gaining favor that could benefit the purchaser in the regions where DFA and the

purchaser actually compete.

       156.   To ensure that competition is effective and sustainable into the future, the

divestiture buyer should also have a proven track record and past experience with

processing and co-packing consumer products.

       157.   The relief sought is narrowly tailored. If granted, DFA could keep all but

one of the facilities gained in the Asset Sale, including two of the legacy Dean facilities

in the Carolinas. DFA will continue to maintain a substantial presence in the Carolinas.




                                           - 51 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 51 of 56
                                       COUNT ONE

               (Violation of Section 7 of the Clayton Act, 15 U.S.C. § 18)

       158.   The foregoing allegations are incorporated as though re-alleged herein.

       159.   MDVA and Food Lion bring this action under Section 16 of the Clayton

Act, 15 U.S.C. § 26, to prevent and restrain the DFA from violating Section 7 of the

Clayton Act, 15 U.S.C. § 18. The effect of the Asset Sale will be substantially to lessen

competition or to tend to create a monopoly in the relevant markets described above, or in

another line of commerce, in violation of Section 7 of the Clayton Act.

       160.   The Asset Sale will decisively and permanently foreclose MDVA, other

non-DFA cooperatives, and independent dairy farms from accessing the legacy Dean

milk processing facilities in the Carolinas. It also increases DFA’s market power in the

upstream market such that more MDVA farmers will be forced to switch to DFA, and

places DFA in the position immediately to restrict its competitors’ access to the

downstream fluid milk processing and packaging market.

       161.   The relevant markets are highly concentrated; barriers to entry and

expansion are high; and new entry would not be timely, likely or economical to replace

the competition that will be lost as a result of the Asset Sale.

       162.   There are no efficiencies that are transaction-specific, let alone sufficient to

overcome the permanent loss of competition.

       163.   Plaintiffs are threatened with further loss or damage by reason of the actual

or likely lessening of competition described above and are entitled to injunctive relief


                                            - 52 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 52 of 56
under Section 16 of the Clayton Act, 15 U.S.C. § 26, sufficient to ensure competition in

the relevant markets.

                                     COUNT TWO

              (Violation of Section 2 of the Sherman Act, 15 U.S.C. § 2)

       164.   The foregoing allegations are incorporated as though re-alleged herein.

       165.   As detailed above, DFA has monopoly power, or at a minimum, a

dangerous probability of success in acquiring monopoly power, in the market for the

supply of raw Grade A milk to milk processing facilities in the Carolinas, including the

power to control prices and exclude competition. Upon information and belief, DFA

already possesses 60% or more of the market share for the supply of raw Grade A milk to

milk processing facilities in the Carolinas. The Asset Sale, moreover, creates a dynamic

whereby DFA’s already-dominant share of the relevant market is likely to increase

rapidly as DFA consolidates its power and weakens or eliminates its only competitor in

the region, and the market tips accordingly.

       166.   DFA has made the willful acquisition and maintenance of that market

power, or has willfully, knowingly, and with specific intent attempted to acquire that

market power, by, inter alia, entering into long-term exclusive dealing contracts with

Dean, which the Asset Sale has effectively made permanent, and causing Dean not to

purchase raw Grade A milk from MDVA, whether by exercising its rights under the Side

Note, entering into and enforcing other anticompetitive agreements with Dean, or through

other means including the May 1, 2020, purchase of the legacy Dean Carolinas facilities.


                                          - 53 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 53 of 56
       167.   DFA’s monopoly power in the relevant market, or its dangerous probability

of success in acquiring monopoly power, was and is not a consequence of its superior

product, business acumen, or historic accident.

       168.   MDVA is a competitor of DFA and has been and will continue to be

harmed by DFA’s unlawful conduct, which has foreclosed MDVA from access to half of

the milk processing facilities in the Carolinas. The anticompetitive Asset Sale also

increases DFA’s market power such that more MDVA farmers will be forced to switch to

DFA, eventually eliminating MDVA as a viable competitor in the region.

       169.   Food Lion, a downstream purchaser of processed fluid milk, will be harmed

by DFA’s unlawful conduct because DFA has acquired or has a dangerous probability of

acquiring the power to exclude competition and raise the price of processed fluid milk

products.

       170.   The market for the supply of raw Grade A milk to milk processing facilities

in the Carolinas is highly concentrated because DFA only has one competitor in the

region, MDVA; barriers to entry and expansion are high; and a new entrant would be

unable to compete with DFA as a result of the Asset Sale and other conduct and market

conditions described herein.

       171.   There are no efficiencies that are transaction-specific, let alone sufficient to

outweigh the anticompetitive effect of the Asset Sale.




                                            - 54 -



            Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 54 of 56
       172.   Both Plaintiffs are threatened with loss or damage by DFA’s violation of 15

U.S.C. § 2 and are entitled to injunctive relief under Section 16 of the Clayton Act, 15

U.S.C. § 26, sufficient to ensure competition in the relevant market.

                                 REQUESTED RELIEF

       173.   In light of the foregoing, Plaintiffs MDVA and Food Lion respectfully

request that the Court enter a judgment in their favor and against DFA and grant the

following relief:

          a. DFA’s acquisition of all three legacy Dean facilities in North and
             South Carolina be adjudged and decreed to have violated Section 7 of
             the Clayton Act, 15 U.S.C. § 18, and Section 2 of the Sherman Act,
             15 U.S.C. § 2; and the acquisition and DFA’s other conduct described
             herein to be adjudged to have violated Section 2 of the Sherman Act,
             15 U.S.C. § 2;

          b. Plaintiffs be granted a preliminary injunction that will preserve the
             status quo, protect the relevant assets, and ensure the viability of a
             divestiture remedy until the conclusion of this matter;

          c. Plaintiffs be granted permanent injunctive relief requiring DFA to
             divest at least one of the three legacy Dean processing facilities in the
             Carolinas—which facility is sufficient to ensure competition in the
             relevant geographic market—to a viable, qualified, and independent
             purchaser unaffiliated with DFA, or in the alternative be subjected to
             such other injunctive relief as would be sufficient to remedy the anti-
             competitive effects of the Asset Sale and DFA’s violation of the
             Sherman Act;

          d. Plaintiffs be awarded reasonable attorneys’ fees and costs of this
             action, pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26; and

          e. Plaintiffs receive such other relief as the Court deems just and proper.




                                           - 55 -



           Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 55 of 56
DATED: May 19, 2020               Respectfully submitted,

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                                  - 56 -



        Case 1:20-cv-00442 Document 1 Filed 05/19/20 Page 56 of 56
